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    EXHIBIT B
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                                                               Greer, Rachel Louise Snyder, David Henry Hwang, Ta-Nehisi
                     2025 WL 744032                            Coates, Laura Lippman, Matthew Klam, Junot Diaz.
      Only the Westlaw citation is currently available.
                                                               Adam J. Levitt, Amy E. Keller, James Arthur Ulwick, DiCello
       United States District Court, N.D. California.
                                                               Levitt LLP, Chicago, IL, Greg G. Gutzler, David A. Straite,
                                                               DiCello Levitt LLP, New York, NY, Seth Haines, Timothy
          Richard KADREY, et al., Plaintiffs,
                                                               Hutchinson, Rmp LLP, Springdale, AR, Brian O. O'Mara,
                       v.
                                                               DiCello Levitt LLP, San Diego, CA, David Boies, Pro Hac
         META PLATFORMS, INC., Defendant.
                                                               Vice, Boies Schiller Flexner LLP, Armonk, NY, David L.
                  Case No. 23-cv-03417-VC                      Simons, Pro Hac Vice, Boies Schiller Flexner LLP, New
                              |                                York, NY, Jesse Michael Panuccio, Pro Hac Vice, Boies
                    Signed March 7, 2025                       Schiller Flexner LLP, Washington, DC, Joshua I. Schiller,
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Margaux Poueymirou, Melissa Tribble, Joseph Saveri Law         Amy E. Keller, James Arthur Ulwick, DiCello Levitt
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Boies Schiller Flexner LLP, Armonk, NY, David L. Simons,       DiCello Levitt LLP, New York, NY, Seth Haines, Timothy
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Schuffenhauer, Pro Hac Vice, Jesse Michael Panuccio, Pro       Vice, Boies Schiller Flexner LLP, Armonk, NY, David L.
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Vice, Boies Schiller Flexner LLP, Armonk, NY, David L.         Hac Vice, Jesse Michael Panuccio, Pro Hac Vice, Boies
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NY, David A. Straite, DiCello Levitt LLP, New York, NY,        Joshua Michelangelo Stein, Margaux Poueymirou, Maxwell
Jay Schuffenhauer, Pro Hac Vice, Jesse Michael Panuccio,       V. Pritt, Boies Schiller Flexner LLP, San Francisco, CA,
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Bernstein, LLP, San Francisco, CA, Danna Z. Elmasry, Lieff
Cabraser Heimann & Bernstein, LLP, New York, NY, Jay             Moreover, the plaintiffs allege that the CMI removal
Schuffenhauer, Pro Hac Vice, Jesse Michael Panuccio, Boies       facilitated and concealed actual infringement of their
Schiller Flexner LLP, Washington, DC, Joshua Michelangelo        copyrights. Copyright infringement is obviously a concrete
Stein, Maxwell V. Pritt, Boies Schiller Flexner LLP, San         injury sufficient for standing. So even if the CMI removal isn't
Francisco, CA, Margaux Poueymirou, Melissa Tribble,              sufficiently concrete, the plaintiffs have alleged a different
Joseph Saveri Law Firm, LLP, San Francisco, CA, David            injury that is traceable to the CMI removal.
Boies, Boies Schiller and Flexner, Armonk, NY, for Plaintiff
Christopher Farnsworth.                                          Meta argues that these injuries don't suffice for standing
                                                                 because the DMCA protects different “interests” than
Bobby A. Ghajar, Colette Ani Ghazarian, Cooley LLP,              traditional copyright law, and standing requires an injury
Santa Monica, CA, William Thomas Marks, Kannon K.                that is closely related to a harm traditionally recognized
Shanmugam, Pro Hac Vice, Paul, Weiss, Rifkind, Wharton           as providing a basis for a lawsuit. See TransUnion LLC v.
& Garrison LLP, Washington, DC, Angela Dunning, Cleary           Ramirez, 594 U.S. 413, 422–30 (2021); Raw Story, 2024
Gottlieb Steen & Hamilton LLP, Palo Alto, CA, Anna               WL 4711729, at *3. It's not clear that Meta is completely
Manchester Stapleton, Paul, Weiss, Rifkind, Wharton &            right about the goals of the DMCA. See Mango v. BuzzFeed,
Garrison LLP, San Francisco, CA, Cole Augustus Poppell,          Inc., 970 F.3d 167, 172 n.2 (2d Cir. 2020) (“purpose of
Pro Hac Vice, Phillip Edward Morton, Pro Hac Vice, Cooley        the DMCA” is “to provide broad protections to copyright
LLP, Washington, DC, Elizabeth Lee Stameshkin, Juan Pablo        owners”). But in any event, whether the DMCA seeks to
Gonzalez, Judd D. Lauter, Matthew J. Brigham, Pro Hac Vice,      prevent the exact injuries the plaintiffs allege is a separate
Cooley LLP, Palo Alto, CA, Kathleen R. Hartnett, Cooley          question from whether the plaintiffs have been concretely
LLP, San Francisco, CA, Mark Alan Lemley, Lex Lumina             injured by Meta's CMI removal. Article III standing requires
PLLC, New York, NY, Teresa Lauren Harrold Michaud,               that the injury to the plaintiff—not their cause of action or the
Cooley LLP, Los Angeles, CA, for Defendant.                      statute under which it arises—have a close relationship to a
                                                                 traditional harm. TransUnion, 594 U.S. at 424. The DMCA's
                                                                 purpose might be relevant to the merits of their claim, or to
         ORDER GRANTING IN PART AND                              whether the plaintiffs fall within the statute's zone of interests.
      DENYING IN PART MOTION TO DISMISS                          But it is irrelevant to whether the plaintiffs have suffered a
                                                                 concrete injury. See, e.g., ThermoLife International, LLC v.
                      Re: Dkt. No. 413                           BPI Sports, LLC, 2022 WL 612669, at *1–2 (9th Cir. Mar. 2,
                                                                 2022) (discussing differences between standing and zone-of-
VINCE CHHABRIA, United States District Judge                     interests test).

 *1 The motion to dismiss is granted as to the CDAFA             Although it's a closer call, the plaintiffs have also stated
claim and denied as to the DMCA claim. This order assumes        a claim under 17 U.S.C. § 1202(b)(1). The plaintiffs have
the reader's familiarity with the facts, procedural history,     not plausibly alleged that Meta's CMI removal enabled or
governing law, and arguments made by the parties.                facilitated infringement. The fact that removing CMI might
                                                                 make the plaintiffs' books work better as training data does
1. DMCA. The plaintiffs have alleged a sufficient injury         not mean that removing CMI made it easier for Meta to
for Article III standing. Although “the specific right created   commit copyright infringement. And as the plaintiffs seem
by the DMCA may be comparatively new,” Meta's removal            to concede, the complaint does not adequately allege that the
of copyright management information is an interference           CMI removal would or did aid infringement by anyone other
with a property right that is closely related to the “kind of    than Meta.
property-based harms traditionally actionable in copyright.”
The Intercept Media, Inc. v. OpenAI, Inc., 2025 WL 556019,        *2 But the plaintiffs have adequately alleged that
at *5–6 (S.D.N.Y. Feb. 20, 2025). But see Raw Story Media,       Meta intentionally removed CMI to conceal copyright
Inc. v. OpenAI, Inc., 2024 WL 4711729, at *3–4 (S.D.N.Y.         infringement. The plaintiffs allege that Meta “knew that
Nov. 7, 2024). The removal of CMI is thus a concrete injury      Llama was especially ‘prone’ to memorizing and generating
for standing purposes.                                           outputs of CMI unless CMI was removed from” its training



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                                                                       that Meta accessed their computers or servers—only their
data. They also allege that Meta took a number of other steps
                                                                       data (in the form of their books). And the only reason that
to reduce the likelihood that Llama would generate outputs
                                                                       the books Meta acquired could plausibly be considered the
that would reveal or indicate that copyrighted material was
                                                                       plaintiffs' data is because the plaintiffs own the copyrights on
included in training datasets. Taken together, these allegations
                                                                       those books. If, by contrast, the plaintiffs' books were in the
raise a “reasonable, if not particularly strong, inference” that
                                                                       public domain, the plaintiffs would have no CDAFA claim
Meta removed CMI to try to prevent Llama from outputting
                                                                       against Meta, because there would be no reason that Meta
CMI and thus revealing that it was trained on copyrighted
                                                                       would have needed their permission to download the books.
material. Friedman v. Live Nation Merchandise, Inc., 833 F.3d
                                                                       So there is no way to understand the plaintiffs' CDAFA claim
1180, 1189 (9th Cir. 2016). This use of copyrighted material
                                                                       as based on any right that is “qualitatively different” from
is clearly an identifiable (alleged) infringement. See Stevens
                                                                       the plaintiffs' rights under the Copyright Act. See Maloney v.
v. Corelogic, Inc., 899 F.3d 666, 673–75 (9th Cir. 2018). And
that Meta voluntarily revealed that an early Llama model was           T3Media, Inc., 853 F.3d 1004, 1019 (9th Cir. 2017). 2
trained on a particular dataset containing copyrighted material
doesn't mean that it would have had no reason to hide the use          2       Although giving notice to the state attorney
                                                1
of other such datasets to train later models.                                  general might be the “better practice,” it wasn't
                                                                               required here because holding the plaintiffs' claim
1                                                                              preempted still leaves CDAFA “in force in most of
       As discussed at the hearing, this motion comes in
                                                                               its domain.” United States v. Zadeh, 820 F.3d 746,
       an odd posture because it follows over a year of
                                                                               755 (5th Cir. 2016).
       discovery. Nevertheless, because it is a ruling on
       a motion to dismiss, this order considers only the              IT IS SO ORDERED.
       facts pled in the complaint, accepts those facts as
       true, and draws all reasonable inferences in the
       plaintiffs' favor.                                              All Citations

2. CDAFA. The CDAFA claim is dismissed without leave to                Slip Copy, 2025 WL 744032
amend because it is preempted. The plaintiffs do not allege

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